           Case 20-02662-7                  Filed 05/27/20             Entered 05/27/20 01:16:59                    Doc 1        Pg. 1 of 4




 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Southern
 ____________________              California
                      District of _________________
                                        (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        0/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                            California International Business University
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used
                                             CIBU
                                             ______________________________________________________________________________________________________
      in the last 8 years                    International  School of Management
                                             ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               3 ___
                                              ___ 3 – ___
                                                       0 ___
                                                          6 ___
                                                             8 ___
                                                                3 ___
                                                                   6 ___
                                                                      8 ___
                                                                         4
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                               550 West B Street
                                              ______________________________________________              c/o Thomas Martin LLP, 228 Park Av. S
                                                                                                         _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________              #300
                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                               San Diego               CA        92101
                                              ______________________________________________              New York                 NY       10003
                                                                                                         _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              San Diego
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  www.cibu.edu
                                              ____________________________________________________________________________________________________




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Debtor         California International Business University
              _______________________________________________________                        Case number (if known)_____________________________________
              Name



                                        ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        
 6.   Type of debtor
                                         Partnership (excluding LLP)
                                                           California nonprofit public benefit corporation
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        ✔ None of the above
                                        

                                        B. Check all that apply:
                                        ✔ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                        
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            6 ___
                                           ___  1 ___
                                                   1 ___
                                                       3

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the            ✔ Chapter 7
      debtor filing?                    
                                         Chapter 9
      $GHEWRUZKRLVDVPDOO
      EXVLQHVVGHEWRUPXVWFKHFN
                                         Chapter 11. Check all that apply:
      WKHILUVWVXEER[$GHEWRU                     7KHGebtorLs aDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& ' DQGLWV
      DVGHILQHGLQ  ZKR                        Dggregate noncontingent liquidated debts (excluding debts owed toinsiders or affiliates)
      HOHFWVWRSURFHHGXQGHU                            are less than $2,725,625,IWKLVVXEER[LVVHOHFWHGDWWDFKWKHPRVWUHFHQWEDODQFHVKHHW
      VXEFKDSWHU9RIWKHFKDSWHU                        VWDWHPHQWRIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDQ\RI
       ZKHWKHURUQRWWKHGHEWRU                      WKHVHGRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % .
      LVDVPDOOEXVLQHVVGHEWRU                       The debtor is a debtor as defined in 11 U.S.C. § 1(1)LWVDJJUHJDWHQRQFRQWLQJHQW
      PXVWFKHFNWKHVHFRQGVXE                         OLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWRLQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ
      ER[                                               DQGLWFKRRVHVWRSURFHHGXQGHU6XEFKDSWHU9RI&KDSWHUIf thLVVXEER[LV
                                                         VHOHFWHGattach the most recent balance sheet, statementof operations, cash-flow
                                                         statement, andfederal income tax return or if aQ\ of thesedocuments do not exist, follow
                                                         the procedure in11 U.S.C. § 1116(1)(B).
                                                            A plan is being filed with this petition.

                                                           Acceptances of the plan were solicited prepetition from one or more classes ofcreditors,
                                                           in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases       ✔ No
                                        
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


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Debtor          California International Business University
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases           ✔ No
                                          
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?                          ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        ✔ No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                     Funds will be available for distribution to unsecured creditors.
                                          ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                          

                                          ✔ 1-49
                                                                           1,000-5,000                              25,001-50,000
 14.   Estimated number of                 50-99                           5,001-10,000                             50,001-100,000
       creditors
                                           100-199                         10,001-25,000                            More than 100,000
                                           200-999

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Debtor        California International Business University
              _______________________________________________________                           Case number (if known)_____________________________________
              Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                  
                                         ✔ $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                         ✔ $100,001-$500,000
                                                                             $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      Q   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         Q   I have been authorized to file this petition on behalf of the debtor.

                                         Q   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           05/19/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                         8   _____________________________________________               Anya  Eskildsen
                                                                                                         _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chair
                                             Title _________________________________________




 18.   Signature of attorney
                                         8   ___/Thomas        Thorup/___________________                 Date         05/27/2020
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                              Thomas Thorup
                                             _________________________________________________________________________________________________
                                             Printed name

                                              Thomas Martin LLP
                                             _________________________________________________________________________________________________
                                             Firm name

                                              228 Park Avenue South, #300
                                             _________________________________________________________________________________________________
                                             Number     Street
                                             New York
                                             ____________________________________________________                  NY
                                                                                                             ____________  10003
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                              530-564-0290
                                             ____________________________________                            tt@thomasmartinlaw.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                              284028
                                             ______________________________________________________       CA
                                                                                                    ____________
                                             Bar number                                             State




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